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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

Crystal Long,                                      )
                                                   )
                                Plaintiff,         )      Judge George Jarrod Hazel
                                                   )
        v.                                         )      Case No.: 8:17-cv-01955-GJH
                                                   )
Ability Recovery Services, LLC, et al.             )
                                                   )
                                Defendants.        )
                                              Declaration

I, Morgan I. Marcus, hereby declare as follows:

        1.       I am an attorney, member of good standing of the Illinois Bar, duly licensed and

authorized to practice in all Illinois state courts; the United States District Courts for the

Northern, Central, and Southern District of Illinois; the Northern and Southern District of

Indiana; the Eastern District of Michigan; the Western and Eastern District of Wisconsin; and the

Bankruptcy Courts for the Southern District of Indiana, the Eastern District of Michigan, the

Eastern District of Wisconsin, and the Northern District of Illinois. I have also been granted pro

hac vice admission in multiple courts, including this Court.

        2.       I am an attorney at the law firm of Sessions, Fishman, Nathan, and Israel, LLC,

attorneys of record for Pendrick Capital Partners II, LLC.

        3.       I have never been the subject of any disciplinary proceedings against me in any

jurisdiction.

        4.       I have personal knowledge of the matters set forth in this declaration. If called as

a witness, I could testify competently to such matters.




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         5.       On February 19, 2018, I appeared for plaintiff’s deposition held at plaintiff’s

counsel’s office at The Goldson Law Office, 1734 Elton Rd. Suite 210, Silver Spring, MD

20903.

         6.       Ms. Weiner filed an appearance on the morning of the deposition on behalf of

plaintiff. Prior to appearance at the deposition, Ms. Weiner had no involvement in the case to the

knowledge of the undersigned.

         7.       Prior to starting the deposition, I suggested that the attorneys for each party,

including Ms. Weiner, discuss possible settlement of the case, prior to conducting Ms. Long’s

deposition, in an effort to try to get the case settled without requiring that Ms. Long sit for a

deposition at all.

         8.       While outside plaintiff’s counsel’s office, pursuant to Federal Rule of Evidence

408, the parties discussed the merits of plaintiff’s claims as against Ability Recovery Services,

LLC and Pendrick Capital Partners II, LLC, along with the credit reporting agencies, and the

terms of a possible settlement as to Ability and Pendrick. Ultimately, the parties were not able to

agree on a structured settlement despite good faith offers, and the parties made the determination

to proceed with Ms. Long’s deposition.

         9.       During the conversation, the fact that Ability had filed the referenced motion to

extend on the morning of February 19, 2018, was acknowledged by all parties to the

conversation. The parties discussed the pending motion to extend discovery, and a possible

subpoena to Ms. Long’s employer related to the facts alleged, specifically, in her lawsuit, which

is what was also addressed, if anything, during her deposition, related to her current employment.

         10.      On page 4 of plaintiff’s response to Ability’s motion to extend, Ms. Weiner

makes the following statement: “Even worse, it seems to be using the threat of professional



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consequences to bully Plaintiff into to accepting the Offer of Judgment. Pendrick’s counsel made

Defendants’ purpose clear in discussing the Offer of Judgment, asking whether Plaintiff ‘wanted

[them] to notify her employer.’”

       11.     To be very clear, no threats in any way were made to plaintiff’s counsel or her

client whatsoever.

       12.     The inference of any impropriety by myself, or counsel for Ability, in plaintiff’s

response to Ability’s motion to extend, necessitates this declaration, as such inference is baseless

and an attack on my personal and professional character.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed this 2nd day of February, 2018, at Chicago, Illinois.

                                              Respectfully submitted,
                                              /s/Morgan I. Marcus
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